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          EXHIBIT E
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                                                                                         USO10971706B2


( 12) United States Patent                                             (10) Patent No .: US 10,971,706 B2
         Jiang et al.                                                  (45 ) Date of Patent :  Apr. 6, 2021
( 54 ) ELECTRODE ASSEMBLY                                                       HOLM 2/32 (2013.01 ) ; HOTM 4/13 ( 2013.01 ) ;
                                                                                      HOIM 4/622 (2013.01 ) ; HOTM 10/0431
( 71 ) Applicant: Ningde Amperex Technology Limited ,                                    ( 2013.01 ) ; HOIM 2004/027 (2013.01 )
                     Fujian ( CN )                                 ( 58 ) Field of Classification Search
                                                                            CPC            HO1M 2/0275 ; HOTM 2/0277 ; HOLM
( 72 ) Inventors: Jing Jiang, Fujian (CN) ; Kefei Wang,                                   10/0431; HO1M 2/029 ; HO1M 2/0285 ;
                  Fujian (CN)                                                            HO1M 2/32 ; HOTM 4/622 ; HOTM 4/13 ;
                                                                                                 HO1M 2/1094 ; HO1M 2004/027
( 73 ) Assignee : NINGDE AMPEREX                                            USPC                                     429/176
                  TECHNOLOGY LIMITED , Fujian                               See application file for complete search history .
                     ( CN )
                                                                   ( 56 )                 References Cited
( * ) Notice:        Subject to any disclaimer, the term of this                    U.S. PATENT DOCUMENTS
                     patent is extended or adjusted under 35
                     U.S.C. 154 ( b ) by 149 days .                  2011/0159344 A1 *     6/2011 Kobayashi             HO1M 4/62
                                                                                                                           429/130
( 21 ) Appl. No .: 16 /175,883
                                                                   * cited by examiner
(22) Filed :       Oct. 31 , 2018
                                                                   Primary Examiner — Gary D Harris
( 65 )                  Prior Publication Data                     (74 ) Attorney, Agent, or Firm Morgan , Lewis &
         US 2019/0165339 A1          May 30, 2019                  Bockius LLP

( 30 )          Foreign Application Priority Data                  ( 57 )                   ABSTRACT
                                                                   The present application relates to an electrode assembly and
   Nov. 29 , 2017 ( CN )                  201721631032.7           a secondary battery. The electrode assembly includes a cell
(51 ) Int. Cl.
                                                                   and a protective layer. The cell includes a cell body and an
                                                                   electrode tab protruding from a top surface of the cell body.
       HOIM 2/02             (2006.01 )                            In a length direction of the cell , at least one end of the
       HOIM 2/32             ( 2006.01 )                           protective layer extends beyond the height at which the
         HOIM 4/62               ( 2006.01 )                       anode electrode in the cell body protrudes at the end , and the
         HOIM 4/13               ( 2010.01 )                       extended dimension is no more than 3 mm . As such , the burr
         HOIM 2/10               ( 2006.01 )                       of the anode electrode of the cell body is wrapped by the
         HOIM 10/04              ( 2006.01 )                       protective layer , which alleviates the phenomenon that the
         HOIM 4/02               ( 2006.01 )                       burr on the anode electrode pierces the package bag and
( 52 ) U.S. Cl.                                                    chemically reacts with the aluminum layer of the package
       CPC             HOIM 270275 ( 2013.01 ) ; HOIM 2/029        bag , thereby reducing the risk of leakage of the package bag .
                  (2013.01 ) ; HOIM 2/0277 (2013.01 ) ; HOIM
                  270285 ( 2013.01 ) ; HOLM 2/1094 ( 2013.01 ) ;                   15 Claims , 4 Drawing Sheets
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                                       1




                                    Fig. 1


               ???




                                    Fig. 2
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                                    Fig. 3




                                    Fig. 4
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                                    Fig . 5




                                              TA
                                    Fig. 6




                                                      1




                                    Fig. 7
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                             TOMA T A*****M



                           wit
                          CAV***




                           RAUN
                           Mimosa
                             *A**


                           AVA
                               ***




                                              Fig. 8
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                                                    US 10,971,706 B2
                              1                                                                   2
               ELECTRODE ASSEMBLY                                  Preferably, the anode electrode of the cell body includes
                                                                a top portion and a bottom portion distributed along the
           CROSS - REFERENCE TO RELATED                         height direction of the cell , and the protective layer includes
                       APPLICATION                              a first portion and a second portion; on at least one side of
                                                              5 the width direction of the cell body, the first portion covers
   This application claims priority to and the benefit of the top        portion , the second portion covers the bottom por
Chinese Patent Application Serial No. 201721631032.7 , tion          , and a gap is defined between the first portion and the
filed with the China National Intellectual Property Admin second         portion.
                                                                   Preferably , on at least one side in the width direction of
istration on Nov. 29 , 2017 , and the entire content of which   10 the cell body, the protective layer covers the outermost
is incorporated herein by reference .                              surface of the cell body.
             FIELD OF THE APPLICATION                                Preferably , the cell body includes a wound cell body, and
                                                                   the wound cell body includes a body portion containing an
    The present application relates to the field of energy 15 the  active material and an empty foil region at a finishing end of
storage device technologies, in particular, to an electrode of the     body portion ; the protective layer covers at least one side
assembly and a secondary battery.                                          width direction of the cell body and is arranged in the
                                                                   empty foil region of the first layer from outside .
          BACKGROUND OF THE APPLICATION                               Preferably, the protective layer includes a first binding
                                                                   sub - layer and an isolation sub - layer laminated together, and
    With the development of science and technology, various 20 binding
                                                                   the protective    layer is bound to the cell through the first
                                                                             sub - layer.
electronic products emerge in an endless stream and become           Preferably, the protective layer further includes a second
an indispensable part of daily life. Since secondary batteries, binding sub - layer, and the second binding sub - layer is
such as lithium - ion batteries, have advantages of high arranged on a side of the isolation sub - layer away from the
energy density, long cycle life, environmental friendliness 25 first binding sub - layer.
and reproducibility, they have been widely used in various            Preferably, the isolation sub - layer includes a layer made
electronic products.                                               of at least one selected from the group consisting of poly
    In the related art, the secondary battery generally achieves olefin , polyacrylonitrile, polyol ester, polyamide , polyure
isolation between the current collector and the aluminum thane , and a composite containing at least one of polyolefin ,
plastic film through a separator. As the requirement for the 30 polyacrylonitrile, polyol ester, polyamide and polyurethane.
energy density ofthe secondary battery is becoming higher             The first binding sub - layer and / or the second binding
with the time , the thicknesses of the separator, the aluminum sub -layer includes a layer formed of at least one of:
plastic film , and the current collector are also reduced . On        polyolefin, polyurethane, polyacrylate, silicone , rubber,
the one hand , the thinned collector current is prone to and a composite containing at least one of polyolefin ,
become a sharp corner at both side edges in the width 35 polyurethane, polyacrylate, silicone , and rubber.
direction when the battery core is formed after pressing, and         Preferably, a thickness of the protective layer ranges from
the sharp corner increases the possibility that the current 3 um to 40 um .
collector pierces the aluminum plastic film . On the other            The second aspect of the present application provides a
hand, there is a burr on the die - cut surface of the anode secondary battery including a package bag and at least one
current collector. When the burr pierces the aluminum 40 electrode assembly packaged in the package bag , and each
plastic film , the anode copper foil is in contact with the electrode assembly is the electrode assembly according to
aluminum layer in the aluminum plastic film , and then a any one of the above .
chemical reaction causes corrosion of the portion . In severe         The technical solution provided by the present application
cases , leakage phenomenon occurs in the aluminum plastic may achieve the following beneficial effects :
film .                                                          45   The present application provides an electrode assembly
                                                                   including a protective layer arranged on at least one side in
           SUMMARY OF THE APPLICATION                               the width direction of the cell body and extending respec
                                                                 tively from this side to a first surface and a second surface;
   Embodiments of the present application provide an elec- in the height direction of the cell , at least one end of the
trode assembly and a secondary battery, which may reduce 50 protective layer extends beyond the height at which the
the risk of package bag leakage.                                 anode electrode in the cell body protrudes at the end , and the
   The first aspect of the present application provides an extended dimension is no more than 3 mm . After this
electrode assembly including a cell and a protective layer, arrangement, on one hand, the burr of the anode electrode of
the cell includes a cell body and an electrode tab protruding the cell body is wrapped by the protective layer, which
from the cell body.                                           55 alleviates the phenomenon that the burr on the anode elec
   In a height direction of the cell , at least one end of the trode pierces the package bag and chemically reacts with the
protective layer extends beyond an anode electrode in the aluminum layer of the package bag , thereby reducing the
cell body, and the extending dimension is no more than 3 risk of leakage of the package bag ; on the other hand, at least
mm .                                                                one sharp corner on the cell body is well covered by the
   Preferably, in a width direction of the cell , the protective 60 protective layer, so that the piercing force applied to the
layer is disposed on both sides of the cell ; in a height package bag at the sharp corner can be absorbed partially by
direction of the cell , both ends of the protective layer extend the protective layer, and correspondingly, the risk of leakage
beyond the anode electrode.                                    due to piercing of the package bag by the sharp corner is
  Preferably, on at least one side in the width direction of   reduced .
the cell body, the protective layer extends in a height 65 The above general description and the following detailed
direction of the cell to extend beyond the height at which the description are merely exemplary and are not intended to be
anode electrode of the cell body protrudes at both ends .      limiting .
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                                                     US 10,971,706 B2
                         3                                                                          4
             BRIEF DESCRIPTION OF THE                                being pierced by the burrs on the anode electrode, and at the
             ACCOMPANYING DRAWINGS                                 same time , the risk of corrosion due to forming reaction
                                                                   between the anode copper foil and the aluminum layer in the
   FIG . 1 is a schematic diagram of Example 1 wherein a package bag 3 is reduced , so that the risk of leakage of the
protective layer is provided on a cell , according to an 5 package bag 3 is reduced; on the other hand, since the
embodiment of the present application ;                            groove of the cell body 11 is required to be punched in the
   FIG . 2 is a schematic diagram of Example 2 wherein a package bag 3 , both sides of the package bag 3 correspond
protective layer is provided on a cell , according to an ing to the width direction of the cell body 11 become weaker
embodiment of the present application ;                            after being drawn. As such , at least one sharp corner on the
   FIG . 3 is a schematic diagram showing that the wound 10 cell body 1 may be well covered by the protective layer 2 ,
cell body is not wound up , according to an embodiment of so that the piercing force of the sharp corner applied to the
the present application ;                                          package bag 3 at the sharp corner may be absorbed partially
   FIG . 4 is a schematic diagram showing that the wound by the protective layer 2 , and correspondingly, the risk of
cell body is wound up , according to an embodiment of the leakage due to piercing of the package bag 3 by the sharp
present application;                                            15 corner is reduced .
   FIG . 5 is a schematic diagram of Example 1 of a protec            It should be noted that the protective layer 2 may be not
tive layer, according to an embodiment of the present arranged on both sides in the thickness direction of the cell
application ;                                                      body 11 , because the cell body 11 requires to be hot -pressed
   FIG . 6 is a schematic diagram of Example 2 of a protec- by the press - fitting mechanism after being wound or
tive layer, according to an embodiment of the present 20 stacked . Therefore, in the thickness direction of the cell body
application;                                                       11 , the burrs are flattened, which causes the risk of leakage
   FIG . 7 is a schematic diagram of a secondary battery of the package bag 3 to be small . In addition, since the gap
provided by an embodiment of the present application ;             between the top portion and bottom portion of the cell body
   FIG . 8 is an enlarged view of the A portion of FIG . 7 .       11 in the height direction and the package bag 3 is large, the
   The drawings herein are incorporated in and constitute a 25 top portion and bottom portion are less in contact with the
part of the specification . Embodiments consistent with the package bag 3 , and so the risk of leakage of the package bag
present application are shown and used in conjunction with 3 in these two parts is also relatively small . Thus, in the
the specification to explain the principles of the application . present application, only the protective layer 2 is arranged
                                                                   on at least one side of the width direction ofthe cell body 11 .
            DETAILED DESCRIPTION OF THE                         30    Further, in order to further reduce the risk of leakage of
                  PREFERRED EXAMPLES                               the package bag 3 , it is preferable to provide the protective
                                                                   layer 2 on both sides in the width direction of the cell body
   The present application will be further described in detail 11. As a result , most of the burrs on the cell 1 may be
below through the specific embodiments and the accompa- covered by the protective layer 2 , thereby further reducing
nying drawings.                                                 35 the risk of leakage of the package bag 3 .
   As shown in FIGS . 1-4 , the first aspect of the present           Moreover, on both sides in the width direction of the cell
application provides an electrode assembly including a cell body 11 , in the height direction of the cell 1 , both ends of the
1. The cell 1 may be processed by laminating or winding an protective layer 2 may respectively further extend beyond
anode electrode, a cathode electrode, and a separator the height at which the anode electrode of the cell body 11
arranged between the anode electrode and the cathode 40 protrudes at both ends. It can be seen that the burrs at both
electrode . Among them , the anode electrode is separated ends of the anode electrode are wrapped on both sides in the
from the cathode electrode by the separator to prevent width direction of the cell 1 , and the risk of leakage of the
contact or conduction between the two .                          package bag 3 is further reduced . Correspondingly, the sharp
   The cell 1 includes a cell body 11 and an electrode tab 12 corners of the cell 1 are all wrapped by the protective layer
protruding from the cell body 11. The cell body 11 is used 45 2 , and the sharpness at each sharp corner is controlled, and
to store electric energy, and the electrode tab 12 is used to the risk of leakage after the package bag 3 is pierced is
connect to an external circuit to output electric energy in the greatly reduced.
cell body 11 to the outside .                                      In the various embodiments described above , the manner
   In the present application, In order to reduce the risk of in which the protective layer 2 is arranged is not unique. In
leakage of the package bag 3 , the electrode assembly further 50 an embodiment, as shown in FIG . 1 , on at least one side in
includes a protective layer 2. The protective layer 2 covers         the width direction of the cell body 11 , the protective layer
at least one side of the width direction of the cell body 11 .       2 extends in the height direction of the cell 1 beyond the
In the height direction of the cell 1 , at least one end of the      height at which the anode electrode of the cell body 11
protective layer 2 extends beyond the height at which the            protrudes at both ends. In this case , the protective layer 2 on
anode electrode in the cell body 11 protrudes at the end, and 55 one side of the cell body 11 may be arranged in a one -piece
the extended dimension is no more than 3 mm . The term               structure , i.e. , the protective layer 2 extends in the height of
" width direction of the cell body 11” as used herein is the the cell 1 with both ends respectively covering the top
width direction of the cell 1 , specifically, refers to a direction portion and bottom portion of the anode electrode of the cell
perpendicular to the protruding direction of the electrode tab body 11 , an intermediate portion covering the middle of the
12 in a two -dimensional plane, i.e. the direction X shown in 60 cell 1 , so that this side of the cell body 11 is entirely covered .
FIG . 1. The term " height direction of the cell 1 ” as used This solution makes the processing and arrangement of the
herein specifically refers to the protruding direction of the protective layer 2 relatively simple.
electrode tab 12 , i.e. , the direction Y shown in FIG . 1 .          In another embodiment, as shown in FIG . 2 , the anode
   According to the above description , by providing the electrode of the cell body 11 includes a top portion and a
protective layer 2 on the anode electrode of the cell body 11 , 65 bottom portion distributed in the height direction of the cell
on the one hand, the burrs on the anode electrode are 1 , and correspondingly the protective layer 2 includes a first
wrapped , thereby reducing the risk of the package bag 3 portion 21 and a second portion 22. On at least one side in
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                                                     US 10,971,706 B2
                               5                                                                    6
the width direction of the cell body 11 , the first portion 21 sub -layer 2c is arranged on the side of the isolation sub - layer
covers the top portion , the second portion 22 covers the 2b away from the first binding sub - layer 2a . The second
bottom portion, and there is a gap between the first portion binding sub - layer 2c is arranged such that both sides of the
21 and the second portion 22. In this solution , the protective protective layer 2 may be bound to other objects, so that the
layer 2 is arranged as a split structure , which includes two 5 fixing reliability of the protective layer 2 is higher. For
portions, and a gap is left between the two portions. It is example , when the protective layer 2 is arranged in the
considered that sharp corners and burrs are mainly formed at wound cell body 11 , the protective layer 2 may be bound to
both ends in the height direction of the cell 1 , but rarely the inner wall of the empty foil region 112 through the first
appear in the middle; the omission of the protective layer 2 binding sub - layer 2a , and bound to the second layer of the
inoccupied
    the middle
            by theofprotective
                      the cell body
                               layer 11
                                     2 . may reduce the space 10 cell        body 11 from outside through the second binding
                                                                      sub
    In the above two embodiments , the manner in which the reliably fixed - layer 2c , to ensure that the protective layer 2 may be
protective layer 2 is arranged may be selected depending on embodiment ininwhich          the wound cell body 11. Of course , for the
                                                                                                the protective layer 2 is arranged on
the specific application environment of the electrode assem the outermost surface of               the cell body 11 , the two binding
bly.                                                               15
    The same arrangement may be used for stacked cell or bag          sub - layers may be bound to the cell body 11 and the package
wound cell . For example , on at least one side in the width               3 , respectively.
direction of the cell body 11 , the protective layer 2 may              As previously mentioned, the isolation sub - layer 2b is
cover the outermost surface of the cell body 11 , as shown in used to separate the cell body 11 from the package bag 3 , for
FIG . 1. As such, the protective layer 2 is arranged at the 20 which purpose the isolation sub -layer 25 may preferably
outermost side of the cell body 11 and located between the include a layer formed of at least one of polyolefin , poly
cell body 11 and the package bag 3. This solution may be acrylonitrile, polyol ester, polyamide, polyurethane, and a
used to arrange the protective layer 2 after the cell 1 is composite containing at least one of polyolefin , polyacry
processed . Compared with the arrangement of the protective lonitrile , polyol ester, polyamide and polyurethane. The
layer 2 during the processing of the cell 1 , the former 25 above materials are all polymer materials, which have good
arrangement is simpler.                                               mechanical properties and electrical insulation properties,
    In particular, as shown in FIGS . 3 to 4 , for the wound cell , and have high chemical stability.
since the cell 1 is subjected to a winding process, the                In addition, the first binding sub - layer 2a and / or the
processed cell body 11 is a wound structure, wherein the       second binding sub -layer 2c may preferably include a layer
wound   cell body 11 includes a body portion 111 containing 30 formed of at least one of polyolefin, polyurethane, polyacry
an active material and an empty foil region 112 at the late , silicone , rubber, and a composite containing at least one
finishing end of the body portion 111. In this case , the
protective layer 2 may cover at least one side in the width of ber
                                                                  polyolefin , polyurethane, polyacrylate, silicone, and rub
                                                                  . The above materials have good permeability and high
direction of the cell body 11 and located in the empty foil adhesive
region 112 of the first layer from outside. From this, it is 35 It shouldstrength  after polymerization .
understood that the protective layer 2 is wound inside the isolation sub - layer 2bthat
                                                                           be   noted       the materials used for each of the
                                                                                       , the first binding sub - layer 2a , and the
cell body 11 , and the protective layer 2 is not easily
separated from the cell body 11 due to the winding force second binding sub - layer 2c are not limited to those
while having a high stability. It is also easy to understand described above , and in other embodiments , the above three
that by increasing the number of the protective layers 2 40 may have other arrangements .
arranged in the empty foil region 112 or increasing the          In addition , in order to reduce the space occupied by the
length of the protective layer 2 , the protective layer 2 may protective layer 2 , the range of the thickness of the protec
cover both sides in the width direction of the cell body 11 . tive layer 2 may be set to 3 um to 40 um .
   In embodiments shown in FIGS . 3 to 4 , the protective          As shown in FIG . 7 , the second aspect of the present
layer 2 may be arranged in the empty foil region 112 of the 45 application further provides a secondary battery including a
first layer from outside in two ways. On way is to arrange the package bag 3 and at least one electrode assembly packaged
protective layer 2 on the inner wall of the empty foil region in the package bag 3 , and each of the electrode assemblies
112 of the first layer from outside . Another way is to arrange is the electrode assembly according to any one of the above
the protective layer 2 on the outer wall of the empty foil embodiments .
region 112 of the second layer from outside . When wound in 50 As shown in FIG . 8 , the package bag 3 is usually of a
the above two ways, the protective layer 2 may be arranged multi -layer structure , that is , with an intermediate layer 31
between the first layer and the second layer of the wound and a first insulating layer 32 and a second insulating layer
battery core from outside, and is located on at least one side 33 on both sides of the intermediate layer 31 , wherein in
in the width direction of the cell body 11 .                    order to increase the strength of the package bag 3 , the
   As shown in FIG . 5 , in order to further ensure the stability 55 intermediate layer 31 is preferably arranged as a metal layer
of the position of the protective layer 2 with respect to the such as aluminum or steel , and the first insulating layer 32
cell body 11 , the protective layer 2 preferably includes a first and the second insulating layer 33 are arranged as a poly
binding sub - layer 2a and an isolation sub - layer 25 which are propylene layer or an ethylene -acrylic copolymer layer or
laminated , and the protective layer 2 is bound to the cell 1 the like .
through the first binding sub -layer 2a , and the isolation 60 The foregoing is merely illustrative of the preferred
sub -layer 2b is used to contact the sharp corners and burrs embodiments of the present application and is not intended
of the cell body 11 , to isolate the cell body 11 and the to be limiting of the present application , and various changes
package bag 3. The first binding sub - layer 2a is arranged to and modifications may be made by those skilled in the art.
fix the protective layer 2 by adhesive force, and the fixing Any modifications, equivalent substitutions , improvements,
way is simple and reliable.                                       65 and the like within the spirit and principles of the application
  Further, as shown in FIG . 6 , the protective layer 2 further      are intended to be included within the scope of the present
includes a second binding sub - layer 2c . The second binding        application .
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                                                       US 10,971,706 B2
                                7                                                                      8
   What is claimed is :                                                      from the group consisting of polyolefin , polyurethane ,
   1. An electrode assembly , comprising :                                   polyacrylate, silicone , rubber, and a composite contain
   a cell ; and                                                              ing at least one of polyolefin, polyurethane, polyacry
   a protective layer;                                                       late , silicone, and rubber.
   wherein the cell comprises a cell body and an electrode 5 8. The electrode assembly according to claim 1 , wherein
      tab protruding from the cell body ;                         a thickness of the protective layer ranging from 3 um to 40
   wherein in a height direction of the cell , at least one end um .
      of the protective layer extends beyond an anode elec           9. The electrode assembly according to claim 2 , wherein
      trode, and the extended dimension is no more than 3 a thickness of the protective layer ranging from 3 um to 40
      mm ; and                                                 10
   wherein the protective layer comprises a first binding um10.       .
                                                                         The electrode assembly according to claim 3 , wherein
      sub - layer and an isolation sub - layer which are lami a thickness     of the protective layer ranging from 3 um to 40
      nated , and the protective layer is bound to the cell um .
      through the first binding sub - layer.
                                                                     11. The electrode assembly according to claim 4 , wherein
   2. The electrode assembly according to claim 1 , wherein 15 a thickness
 in a width direction of the cell , the protective layer is                   of the protective layer ranging from 3 um to 40
 disposed on both sides of the cell ; in a height direction of the um .
 cell , both ends of the protective layer extend beyond the           12. The electrode assembly according to claim 5 , wherein
 anode electrode.                                                  a thickness of the protective layer ranging from 3 um to 40
    3. The electrode assembly according to claim 1 , wherein 20 um .
 the anode electrode comprises a top portion and a bottom             13. A secondary battery, comprising:
 portion distributed along the height direction of the cell           a package bag and
 body, and the protective layer comprises a first portion and         at least one electrode assembly packaged in the package
 a second portion;                                                          bag , wherein each of the at least one electrode assembly
    on at least one side of the width direction of the cell body, 25        comprises:
        the first portion covers the top portion, and the second        a cell ; and
        portion covers the bottom portion, and there is a gap            a protective layer;
        between the first portion and the second portion .               wherein the cell comprises a cell body and an electrode
    4. The electrode assembly according to claim 1 , wherein                tab protruding from the cell body;
 on at least one side in the width direction of the cell body, 30 wherein            in a height direction of the cell , at least one end
 the protective layer covers the outermost surface of the cell              of  the  protective layer extends beyond an anode elec
 body.                                                                      trode, and the extended dimension is no more than 3
    5. The electrode assembly according to claim 1 , wherein                mm ;
 the cell body comprises a wound cell body, the wound cell
 body comprising a body portion containing an active mate- 35 wherein        sub -
                                                                                     the protective layer comprises a first binding
                                                                                   layer  and an isolation sub - layer which are lami
 rial and an empty foil region at a finishing end of the body               nated, and the protective layer is bound to the cell
 portion ;                                                                  through the first binding sub -layer.
    the protective layer covers at least one side of the width
        direction of the cell body and is arranged in the empty on14.     at
                                                                              The secondary battery according to claim 13 , wherein
                                                                              least  one side in the width direction of the cell body,
        foil region of the first layer from outside .              40
                                                                      the protective     layer extends in a height direction of the cell
    6. The electrode assembly according to claim 1 , wherein to extend beyond               the height at which the anode electrode of
 the protective layer further comprises a second binding the cell body protrudes                    at both ends.
 sub - layer, and the second binding sub - layer is arranged on a
 side of the isolation sub - layer away from the first binding the anode electrode comprisesaccording
                                                                         15.  The   secondary   battery            to claim 13 , wherein
                                                                                                            a top portion and a bottom
 sub - layer.                                                      45
    7. The electrode assembly according to claim 6 , wherein portion             distributed along the height direction of the cell
 the isolation sub - layer comprises a layer made of at least one body     , and the protective layer comprises a first portion and
 selected from the group consisting of polyolefin , polyacry a second              portion;
                                                                         on at least one side of the width direction of the cell body,
 lonitrile , polyol ester, polyamide, polyurethane, and a com               the first portion covers the top portion, and the second
 posite containing at least one of polyolefin , polyacryloni- 50
 trile, polyol ester, polyamide and polyurethane;                           portion covers the bottom portion, and there is a gap
    the first binding sub - layer and / or the second binding               between     the first portion and the second portion.
        sub - layer comprise a layer made of at least one selected
